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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

PETROLEOS DE VENEZUELA S.A.; PDVSA
PETROLEO S.A.; and PDV HOLDING, INC.,

                            Plaintiffs,
                                                      19 Civ. 10023 (KPF)
                     -v.-
                                                             ORDER
MUFG UNION BANK, N.A. and GLAS
AMERICAS LLC,

                            Defendants.

KATHERINE POLK FAILLA, District Judge:

      On July 7, 2020, Plaintiffs filed a letter motion requesting that the Court

compel Defendants to disclose publicly the identity of their Venezuelan law

expert. (Dkt. #172). On July 10, 2020, Defendants responded with their

opposition (Dkt. #173), and on July 13, 2020, the Court issued an

endorsement advising the parties that no reply was needed (Dkt. #174). After

carefully considering the parties’ submissions, the Court determined that

Defendants had not made a sufficiently specific showing of potential danger to

their expert were their expert’s identity to be publicly disclosed, and therefore

ordered Defendants to submit further details, which the Court in turn would

review in camera. (Dkt. #188). On July 29, 2020, Defendants filed the

requested submissions on an ex parte basis. Having now reviewed Defendants’

submissions, the Court finds that there is sufficient evidence of potential harm

to Defendants’ expert that protection of the expert’s identity is warranted.

Accordingly, Plaintiff’s motion to compel disclosure is DENIED. The Clerk of

Court is ordered to terminate the motion at docket entry 172.
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    SO ORDERED.

Dated: July 30, 2020
       New York, New York

                                         KATHERINE POLK FAILLA
                                        United States District Judge




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